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                                                           USDC SDNY
                                                           DOCUMENT
UNITED STATES DISTRICT COURT                               ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                              DOC #:
                                                           DATE FILED: 07/08/2024
                                               :
 ATELIER EUMORI,                               :
                                               :
                     Plaintiff,                :           Case No. 1:24-cv-3531
                                               :
     v.                                        :
                                               :
 ROADGET BUSINESS PTE. LTD., a                 :
 Singapore private limited company;            :           [PROPOSED] STIPULATED
 SHEIN DISTRIBUTION                            :           PROTECTIVE ORDER
 CORPORATION, a Delaware                       :
 corporation; SHEIN US SERVICES,               :
 LLC, a Delaware limited liability             :
 company; SHEIN TECHNOLOGY LLC,                :
 a Delaware limited liability company; and     :
 FASHION CHOICE PTE. LTD., a                   :
 Singapore private limited company,            :


                    Defendants.


          WHEREAS, Plaintiff Atelier Eumori and Defendants Roadget Business Pte. Ltd.

(“Roadget”); Shein Distribution Corporation (“SDC”); Shein Technology LLC (“STC”); Shein

US Services, LLC (“SUS”); and Fashion Choice Pte. Ltd. (“Fashion Choice”) (collectively the

“Parties” and each individually a “Party”) request that this Court issue a protective order pursuant

to Federal Rule of Civil Procedure 26(c) to protect the confidentiality of nonpublic and

competitively sensitive information that they may need to disclose in connection with discovery

in the-above captioned action (the “Litigation”); and

          WHEREAS, this Court finds good cause exists for issuance of an appropriately tailored

confidentiality order governing the pretrial phase of the Litigation.

          IT IS HEREBY ORDERED that any person subject to this Order — including without

limitation the Parties to the Litigation, their representatives, agents, experts and consultants, all



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third parties providing discovery in the Litigation, and all other interested persons with actual or

constructive notice of this Order — shall adhere to the following terms, upon pain of contempt:

       1.      “Discovery Material” means information of any kind produced or disclosed in the

course of discovery in the Litigation. No person subject to this Order may disclose any Discovery

Material to anyone except as this Order expressly permits. All Discovery Material shall be used

by the receiving Party solely for purposes of the prosecution or defense of the Litigation, and shall

not be used by the receiving Party for any other reason, including any business, commercial,

competitive, personal, legal or other purpose separate from the prosecution or defense of the

Litigation.

       2.      Any Party and any third-party shall have the right to designate as confidential and

subject to this Order any Discovery Material or a portion of any Discovery Material: (a) that is

reasonably believed by the designating Party to contain trade secrets, competitively sensitive

technical, marketing, financial, sales, research, development, manufacturing or other confidential

business information of a Party or third parties; (b) that contains private or confidential personal

information; (c) that contains information received in confidence from third parties; or (d) which

the producing Party otherwise believes in good faith to be entitled to protection under Rule

26(c)(1)(G) of the Federal Rules of Civil Procedure (collectively, “Confidential Discovery

Material”). Any Party or any third-party covered by this Order, who produces or discloses any

Confidential Discovery Material, including without limitation any information, document, thing,

interrogatory answer, admission, pleading, or testimony, shall mark the same with the foregoing

or similar legend: “CONFIDENTIAL.”

       3.      Any Party and any third-party shall have the right to designate as “Attorneys’ Eyes

Only” and subject to this Order any Discovery Material, or portion of any Discovery Material,




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including Confidential Discovery Material, that contains particularly sensitive business or personal

information, the disclosure of which may cause harm to an individual, or to the business or

competitive position of the designating Party. Any Party or any third-party who is covered by this

Order, who produces or discloses any Attorneys’ Eyes Only material, including without limitation

any information, document, thing, interrogatory answer, admission, pleading, or testimony, shall

mark the same with the foregoing or similar legend: “CONFIDENTIAL AND RESTRICTED -

ATTORNEYS’ EYES ONLY”. The Parties agree that, at a minimum, trade secrets and any

competitive information that might give a competitor access to confidential and competitively

useful information would fall under this category, but other types of information may also be

designated hereunder, when appropriate.

       4.      Any Discovery Material designated either as Confidential or Attorney’s Eyes Only

shall be deemed “Protected Information” under this Protective Order.

       5.      No information that is lawfully in the public domain shall be deemed or considered

to be Protected Information under this Protective Order.

       6.      Confidential Discovery Material and its contents may be disclosed only to the

following individuals under the following conditions:

               (a) Outside counsel (herein defined as any attorney at the Parties’ outside law

                   firms).

               (b) Outside experts or consultants retained by outside counsel for purposes of the

                   Litigation, provided they have signed a non-disclosure agreement in the form

                   attached hereto as Appendix A.

               (c) Secretarial, paralegal, clerical, duplicating and data processing personnel of the

                   foregoing;




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               (d) The Court and court personnel;

               (e) Officers, directors, and employees (including In-House Counsel) of the

                   Receiving Party to whom disclosure is reasonably necessary for the Litigation;

               (f) Any deponent may be shown or examined on any information, document or

                   thing designated Confidential if it appears that the witness authored or received

                   a copy of it, was personally involved in the subject matter described therein or

                   is employed by the Party who produced the information, document or thing, or

                   if the producing Party consents to such disclosure; and

               (g) Vendors retained by or for the Parties to assist in preparing for pretrial

                   discovery, trial and/or hearings including, but not limited to, court reporters,

                   litigation support personnel, jury consultants, individuals to prepare

                   demonstrative and audiovisual aids for use in the courtroom or in depositions

                   or mock jury sessions, as well as their staff, stenographic, and clerical

                   employees whose duties and responsibilities require access to such materials,

                   provided they agree to maintain confidentiality to the same degree as required

                   by this Protective Order.

       7.      Confidential Discovery Material shall be accessed only by individuals permitted to

access it under Paragraph 6. Confidential Discovery Material, copies thereof, and the information

contained therein, shall not be disclosed in any manner to any other individual, until and unless:

(a) outside counsel for the Party asserting confidentiality waives the claim of confidentiality; or

(b) the Court orders such disclosure.




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        8.      Material produced and marked as Attorneys’ Eyes Only may be disclosed only to

individuals listed in Paragraph 6 (a) – (d) and (f) – (g) of this Protective Order and to such other

persons as counsel for the producing Party agrees in advance or as Ordered by the Court.

        9.      With respect to any depositions that involve a disclosure of any Protected

Information of a Party, such Party shall have until thirty (30) days after receipt of the deposition

transcript within which to inform all other Parties that portions of the transcript are to be designated

as Confidential or Attorneys’ Eyes Only, which period may be extended by agreement of the

Parties. The deposition transcript shall be treated as Attorneys’ Eyes Only during these thirty (30)

days, and no individual attending such a deposition shall disclose the contents of the deposition to

any individual other than those entitled to review Attorneys’ Eyes Only documents during said

thirty (30) days. Upon being informed that certain portions of a deposition are to be designated as

Confidential or Attorneys’ Eyes Only Discovery Material, all parties shall immediately cause each

copy of the transcript in its custody or control to be appropriately marked and limit disclosure of

that transcript in accordance with terms of this Protective Order.

        10.     If counsel for a Party receiving documents or information designated as

Confidential or Attorneys’ Eyes Only hereunder objects to such designation of any or all of such

items, the following procedure shall apply:

                (a) Counsel for the objecting Party shall serve on the designating Party or third

                    party a written objection to such designation, which shall describe with

                    particularity the documents or information in question and shall state the

                    grounds for objection. Counsel for the designating Party or third-party shall

                    respond in writing to such objection within ten (10) days, and shall state with

                    particularity the grounds for asserting that the document or information is




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                    Confidential or Attorneys’ Eyes Only. If no timely written response is made to

                    the objection, the challenged designation will be deemed to be void. If the

                    designating Party or non-party makes a timely response to such objection

                    asserting the propriety of the designation, counsel shall then confer in good faith

                    in an effort to resolve the dispute.

               (b) If a dispute as to a Confidential or Attorneys’ Eyes Only designation of a

                    document or item of information cannot be resolved by agreement, the party

                    challenging the designation shall present the dispute to the Court or the Court’s

                    or the parties’ stipulated Discovery Referee. The proponent of the designation

                    being challenged shall bear the burden of persuasion in any such dispute that

                    the designation meets the applicable standard. The document or information

                    that is the subject of the filing shall be treated as originally designated pending

                    resolution of the dispute.

       11.     All documents or information designated as Confidential or Attorneys’ Eyes Only

filed with the Court, and all portions of pleadings, motions or other papers filed with the Court that

disclose such documents or information designated as Confidential or Attorneys’ Eyes Only, shall

be filed under seal with the Clerk of the Court and kept under seal until further order of the Court,

if permitted by the Court. The Parties will use their best efforts to minimize such sealing. For any

document filed under seal, (1) a redacted version of the document shall be filed on the public

docket on the same day, and (2) a letter shall be filed on the public docket indicating what has been

filed under seal.




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       12.     If the need arises during trial or at any hearing before the Court for any Party to

disclose Confidential or Attorneys’ Eyes Only information, it may do so only after giving notice

to the producing Party and as directed by the Court.

       13.     To the extent consistent with applicable law, the inadvertent or unintentional

disclosure of Protected Information that should have been designated as such, regardless of

whether the information, document or thing was so designated at the time of disclosure, shall not

be deemed a waiver in whole or in part of a Party’s claim of confidentiality, either as to the specific

information, document or thing disclosed or as to any other material or information concerning the

same or related subject matter. Such inadvertent or unintentional disclosure may be rectified by

notifying in writing counsel for all parties to whom the Protected Information was disclosed that

the Protected Information should have been designated Confidential or Attorneys’ Eyes Only at

any time after disclosure. Such notice shall constitute a designation of the information, document

or thing as Confidential or Attorneys’ Eyes Only under this Protective Order.

       14.     When the inadvertent or mistaken disclosure of any information, document or thing

protected by privilege or work-product immunity is discovered by the receiving Party, or by the

producing Party and brought to the attention of the receiving Party, the receiving Party’s treatment

of such material shall be in accordance with Federal Rule of Civil Procedure 26(b)(5)(B). Such

inadvertent or mistaken disclosure of such information, document or thing shall not by itself

constitute a waiver by the producing Party of any claims of privilege or work-product immunity.

However, nothing herein restricts the right of the receiving Party to challenge the producing Party’s

claim of privilege if appropriate within a reasonable time after receiving notice of the inadvertent

or mistaken disclosure.




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        15.     This Protective Order shall not deprive any Party of its right to object to discovery

by any other Party or on any otherwise permitted ground. This Protective Order is being entered

without prejudice to the right of any Party to move the Court for modification or for relief from

any of its terms. This Protective Order and the agreements contained in it are procedural only for

the purpose of discovery and do not constitute a substantive agreement, or finding by the Court,

that any item is, or is not, confidential, secret, privileged, or otherwise proprietary.

        16.     This Protective Order shall survive the termination of the Litigation and shall

remain in full force and effect unless modified by an Order of this Court or by the written

stipulation of the parties filed with the Court.

        17.     Upon final conclusion of the Litigation, each Party or other individual subject to

the terms hereof shall be under an obligation to assemble and to return to the originating source all

originals and unmarked copies of documents and things containing Confidential and Attorneys’

Eyes Only material and to destroy, should such source so request, all copies of Confidential and

Attorneys’ Eyes Only material that contain and/or constitute attorney work product as well as

excerpts, summaries and digests revealing confidential material; provided, however, that counsel

may retain complete copies of all transcripts and pleadings including any exhibits attached thereto

for archival purposes, subject to the provisions of this Protective Order. To the extent a Party

requests the return of material designated as Confidential and Attorneys’ Eyes Only from the Court

after the final conclusion of the Litigation, including the exhaustion of all appeals therefrom and

all related proceedings, the Party shall file a motion seeking such relief.

        18.     For the avoidance of doubt, no Party shall argue that this Protective Order

constitutes a waiver of any rights or alteration of any obligations under any other agreements.




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IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.




Dated: June 17, 2024
                                                    Andrew Gerber
                                                    Counsel for Plaintiff Atelier Eumori




Dated: June 26, 2024
                                                    Scott Shaw
                                                    Counsel for Defendants Roadget,
                                                    SDC, STC, SUS, and Fashion Choice

Notwithstanding anything in the foregoing to the contrary, the parties must comply with the
Undersigned's Individual Practices in Civil Cases regarding the filing or any document in
redacted or sealed form.


FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

Dated: New York, New York                           ______________________
     8 2024
July __,                                            Valerie E. Caproni
                                                    United States District Judge




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                                         APPENDIX A

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                              :
 ATELIER EUMORI,                              :
                                              :
                    Plaintiff,                :           Case No. 1:24-cv-3531
                                              :
    v.                                        :
                                              :
 ROADGET BUSINESS PTE. LTD., a                :
 Singapore private limited company;           :           NON-DISCLOSURE
 SHEIN DISTRIBUTION                           :           AGREEMENT
 CORPORATION, a Delaware                      :
 corporation; SHEIN US SERVICES,              :
 LLC, a Delaware limited liability            :
 company; SHEIN TECHNOLOGY LLC,               :
 a Delaware limited liability company; and    :
 FASHION CHOICE PTE. LTD., a                  :
 Singapore private limited company,           :


                   Defendants.


         I hereby acknowledge that I am to receive information and/or documents designated as
Protected Information pursuant to the terms of the Protective Order entered on ______________
in this action.

       I acknowledge receipt of a copy of the Protective Order, and certify that I have read and
understand it. I agree to be bound by the terms and restrictions set forth therein.

       I further agree to submit to the jurisdiction of the United States District Court for the
Southern District of New York in connection with the enforcement of this Non-Disclosure
Agreement and for the purpose of any issue or dispute arising hereunder, and agree that this

         Agreement may be enforced against me by the party whose information will be disclosed
to me.

         Signed under the pains and penalties of perjury this _____ day of ____________, 202 __.

                                                       __________________________________
                                                       (Signature)



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